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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SHELBY TYRONE CLARK, JR.,                :
     Plaintiff,                          :
                                         :
              V.                         :     CIVIL ACTION NO. 21-CV-4096
                                         :
LT. BROOKE ALBERT, et al.,               :
      Defendants.                        :

                                        ORDER

      AND NOW, this 20th day of October, 2021, upon consideration of Plaintiff

Shelby Tyrone Clark, Jr.’s Motion To Proceed In Forma Pauperis (ECF No. 1),

Prisoner Trust Fund Account Statement (ECF No. 3), and pro se Complaint (ECF

No. 2), and for the reasons stated in the accompanying Memorandum, it is

ORDERED as follows:

      1.      Mr. Clark’s Motion To Proceed In Forma Pauperis is GRANTED

pursuant to 28 U.S.C. § 1915;

      2.      Shelby Tyrone Clark, Jr., # 0205753, shall pay the full filing fee of $350

in installments, pursuant to 28 U.S.C. § 1915(b), regardless of the outcome of this

case. The Court directs the Warden of Lehigh County Jail or other appropriate

official to assess an initial filing fee of 20% of the greater of (a) the average

monthly deposits to Mr. Clark’s inmate account; or (b) the average monthly

balance in Mr. Clark’s inmate account for the six-month period immediately

preceding the filing of this case. The Warden of Lehigh County Jail or other

appropriate official shall calculate, collect, and forward the initial payment
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assessed pursuant to this Order to the Court with a reference to the docket

number for this case. In each succeeding month when the amount in Clark’s

inmate trust fund account exceeds $10.00, the Warden of Lehigh County Jail or

other appropriate official shall forward payments to the Clerk of Court equaling

20% of the preceding month’s income credited to Mr. Clark’s inmate account

until the fees are paid. Each payment shall refer to the docket number for this

case;

        3.      The Clerk of Court is directed to send a copy of this Order to the

Warden of Lehigh County Jail;

        4.       The Complaint is deemed filed;

        5.      For the reasons stated in the Court’s Memorandum, and pursuant to

28 U.S.C. § 1915(e)(2)(B)(ii), the Court determines as follows:

                a.    All due process claims concerning Mr. Clark’s misconduct

hearing are DISMISSED WITH PREJUDICE;

                b.    All equal protection claims are DISMISSED WITHOUT

PREJUDICE; and

                c.    The Court holds in abeyance the resolution of state law

claims;

        6.      On or before November 19, 2021, Mr. Clark may file an amended

complaint. Any amended complaint must identify all defendants in the caption

of the amended complaint in addition to identifying them in the body of the

amended complaint and shall state the basis for Mr. Clark’s claims against each


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defendant. The amended complaint shall be a complete document that does

not rely on the initial Complaint or other papers filed in this case to state a claim.

When drafting his amended complaint, Mr. Clark should be mindful of the

Court’s reasons for dismissing the claims in his initial Complaint as explained in

the Court’s Memorandum. Mr. Clark may not reassert claims that have already

been dismissed with prejudice. Upon the filing of an amended complaint, the

Clerk shall not make service until the Court so orders;

      8.      The Clerk of Court shall send Mr. Clark a blank copy of the Court’s

form complaint for a prisoner filing a civil rights action bearing the above civil

action number. Mr. Clark may use this form to file his amended complaint if he

chooses to do so;

      9.      If Mr. Clark does not wish to amend his Complaint and instead

intends to stand on his Complaint as originally pled, he may file a notice with the

Court on or before November 19, 2021, stating that intent, at which time the

Court will issue a final order dismissing the case. Any such notice should be titled

“Notice to Stand on Complaint,” and shall include the civil action number for

this case; and

      10.     If Mr. Clark fails to file any response to this Order, the Court will

conclude that Mr. Clark intends to stand on his Complaint and will issue a final

order dismissing this case. Such an order will dismiss Mr. Clark’s federal law claims

with prejudice and any state law claims without prejudice for lack of subject




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matter jurisdiction so that Mr. Clark may pursue his state law claims in an

appropriate state court.

                                      BY THE COURT:


                                      /s/ Joshua D. Wolson
                                      JOSHUA D. WOLSON, J.




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